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                            UNITED STATES DISTRICT COURT
                           FOR DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

 JASON WARREN, on behalf of himself
 individually and on behalf of all others            CASE NO.      3:25-cv-01069-MGL
 similarly situated,
                                                     CLASS ACTION COMPLAINT
                      Plaintiff,
                                                     JURY DEMAND
           v.

 RILEY POPE & LANEY, LLC,

                      Defendant.


                                   CLASS ACTION COMPLAINT

    Plaintiff JASON WARREN (“Plaintiff”) brings this Class Action Complaint (“Complaint”)

against Defendant RILEY POPE & LANEY, LLC, (“RPL” or “Defendant”) as an individual and

on behalf of all others similarly situated, and alleges, upon personal knowledge as to his own

actions and his counsels’ investigation, and upon information and belief as to all other matters, as

follows:

                                     NATURE OF THE ACTION

       1.       This Class Action arises from a recent cyberattack resulting in a data breach of

sensitive information in the possession and custody and/or control of Defendant (the “Data

Breach”).

       2.       On information and belief, the Data Breach occurred between August 11, 2024, and

August 12, 2024. Following an internal investigation, Defendant learned cybercriminals had

gained unauthorized access to consumers’ personally identifiable information (“PII”), including

but not limited to name, social security number, address, date of birth, driver’s license number,




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individual taxpayer identification number, financial account information, medical information, and

health insurance information.

       3.      RPL’s breach differs from typical data breaches because it affects consumers who

had no relationship with RPL, never sought one, and never consented to RPL collecting and storing

their information.

       4.      On or about February 2, 2025– an appalling six months after the Data Breach first

occurred– RPL finally began notifying Class Members about the Data Breach (“Breach Notice”).

A sample Breach Notice is attached as Exhibit A. Plaintiff’s Breach Notice is attached as Exhibit

B.

       5.      Upon information and belief, cybercriminals were able to breach Defendant’s

systems because Defendant failed to adequately train its employees on cybersecurity, failed to

adequately monitor its agents, contractors, vendors, and suppliers in handling and securing the PII

of Plaintiff, and failed to maintain reasonable security safeguards or protocols to protect the Class’s

PII—rendering it an easy target for cybercriminals.

       6.      Defendant’s Breach Notice obfuscated the nature of the breach and the threat it

posted—refusing to tell its consumers how many people were impacted, how the breach happened,

or why it took the Defendant six months to finally begin notifying victims that cybercriminals had

gained access to their highly private information.

       7.      Defendant’s failure to timely report the Data Breach made the victims vulnerable to

identity theft without any warnings to monitor their financial accounts or credit reports to prevent

unauthorized use of their PII.




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       8.     Defendant knew or should have known that each victim of the Data Breach

deserved prompt and efficient notice of the Data Breach and assistance in mitigating the effects of

PII misuse.

       9.     In failing to adequately protect its consumers’ information, adequately notify them

about the breach, and obfuscating the nature of the breach, Defendant violated state law and

harmed thousands of its current and former consumers.

       10.    Plaintiff and the Class are victims of Defendant’s negligence and inadequate cyber

security measures. Specifically, Plaintiff and members of the proposed Class trusted Defendant

with their PII. But Defendant betrayed that trust. Defendant failed to properly use up-to-date

security practices to prevent the Data Breach.

       11.    Plaintiff is a Data Breach victim.

       12.    The exposure of one’s PII to cybercriminals is a bell that cannot be unrung. Before

the Data Breach, the private information of Plaintiff and the Class was exactly that—private. Not

anymore. Now, their private information is permanently exposed and unsecure.

                                            PARTIES

       13.    Plaintiff, Jason Warren, is a natural person and citizen of North Carolina, where he

intends to remain.

       14.    Defendant, RFL, is a South Carolina company, with its principal place of business

at 2838 Devine St, Columbia, South Carolina 29205.

                                JURISDICTION AND VENUE

       15.    This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of




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$5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class.

Plaintiff and Defendant are citizens of different states.

        16.      This Court has personal jurisdiction over Defendant because Defendant maintains

its principal place of business in this District and does substantial business in this District.

        17.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred in this District.

                                     STATEMENT OF FACTS

RPL

        18.      RPL has “offices in South Carolina and North Carolina providing legal counsel in

the areas of banking and financial services, real estate transactions and litigation, business and

defense litigation, commercial transactions, technology, and all manners of intellectual property to

include patent, trademark, copyright and trade secret law.”1 RPL boasts a total annual revenue of

$9.4 million.2

        19.      RPL’s legal services are specialized for corporations and employers who oversee

highly sensitive data. RPL thus must oversee, manage, and protect the PII of its clients’ employees,

RPL’s consumers.

        20.      On information and belief, these third-party consumers, whose PII was collected by

RPL, do not directly do any business with RPL.

        21.      As a self-proclaimed leader in its industry handling highly sensitive aspects of its

clients’ business, RPL understood the need to protect its client’s employees’ data and prioritize its

data security.



1
 About us, RPL, https://rplfirm.com/about-our-firm/ (last visited February 20, 2025).
2
 RPL, Zoominfo, https://www.zoominfo.com/c/riley-pope--laney-llc/76088386 (last visited February 20,
2025).
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       22.     Despite recognizing its duty to do so, on information and belief, RPL has not

implemented reasonably cybersecurity safeguards or policies to protect its consumers’ PII or

supervised its IT or data security agents and employees to prevent, detect, and stop breaches of its

systems. As a result, RPL leaves significant vulnerabilities in its systems for cybercriminals to

exploit and gain access to consumers’ PII.

The Data Breach

       23.     Plaintiff is unsure how RPL got his PII, including his Social Security number and

individual taxpayer identification number. Regardless, in collecting and maintaining PII,

Defendant implicitly agrees that it will safeguard the data using reasonable means according to its

internal policies, as well as state and federal law.

       24.     On information and belief, Defendant collects and maintains consumers’ PII in its

computer systems.

       25.     According to the Breach Notice, RPL admits that “between August 11, 2024 and

August 12, 2024” RPL “identified suspicious activity on its network[.]” Ex. A. Following an

internal investigation, RPL determined that the unauthorized actor acquired certain information

stored therein.. Ex. A. In other words, the Data Breach investigation revealed Defendant’s cyber

and data security systems were completely inadequate and allowed cybercriminals to obtain files

containing a treasure trove of thousands of its customer’s highly private information.

       26.     Through its inadequate security practices, Defendant exposed Plaintiff’s and the

Class’s PII for theft and sale on the dark web.

       27.     On or around February 12, 2025 –six months after the Breach first began occurring

– RPL finally began notifying Class Members about the Data Breach.




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       28.     Despite its duties and alleged commitments to safeguard PII, Defendant did not in

fact follow industry standard practices in securing consumers’ PII, as evidenced by the Data

Breach.

       29.     In response to the Data Breach, Defendant contends that it has or will be taking

“immediate steps to secure our network and strengthen our security posture moving forward.” Ex.

A. Although Defendant fails to fully expand on what these alleged “changes” are, such changes

and training on suspicious emails should have been in place before the Data Breach.

       30.     Through the Data Breach, Defendant recognized its duty to implement reasonable

cybersecurity safeguards or policies to protect customers’ PII, insisting that, despite the Data

Breach demonstrating otherwise, “RPL takes the confidentiality, privacy, and security of

information in its care very seriously.” Ex. A.

       31.     Through its Breach Notice, Defendant also recognized the actual imminent harm

and injury that flowed from the Data Breach, so it encouraged breach victims to remain “vigilant

against incidents of identity theft and fraud by reviewing your account statements and monitoring

your free credit reports for suspicious activity.” Ex. A.

       32.     Cybercriminals need not harvest a person’s Social Security number or financial

account information in order to commit identity fraud or misuse Plaintiff’s and the Class’s PII.

Cybercriminals can cross-reference the data stolen from the Data Breach and combine with other

sources to create “Fullz” packages, which can then be used to commit fraudulent account activity

on Plaintiff’s and the Class’s financial accounts.

       33.     On information and belief, RPL offered several months of complimentary credit

monitoring services to victims, which does not adequately address the lifelong harm that victims




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will face following the Data Breach. Indeed, the breach involves PII that cannot be changed, such

as Social Security numbers.

       34.     Even with several months of credit monitoring services, the risk of identity theft

and unauthorized use of Plaintiff’s and Class Members’ PII is still substantially high. The

fraudulent activity resulting from the Data Breach may not come to light for years.

       35.     Because of the Data Breach, Defendant inflicted injuries upon Plaintiff and Class

Members. And yet, Defendant has done absolutely nothing to provide Plaintiff and the Class

Members with relief for the damages they suffered and will suffer.

       36.     On information and belief, Defendant failed to adequately train and supervise its IT

and data security agents and employees on reasonable cybersecurity protocols or implement

reasonable security measures, causing it to lose control over its consumers’ PII. Defendant’s

negligence is evidenced by its failure to prevent the Data Breach and stop cybercriminals from

accessing the PII.

The Data Breach was a Foreseeable Risk of which Defendant was on Notice.

       37.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in the insurance industry preceding

the date of the breach.

       38.     In light of recent high profile data breaches at other financial partner and

provider companies, Defendant knew or should have known that its electronic records and

consumers’ PII would be targeted by cybercriminals.




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       39.       In 2021, a record 1,862 data breaches occurred, resulting in approximately

293,927,708 sensitive records being exposed, a 68% increase from 2020.3 The 330 reported

breaches reported in 2021 exposed nearly 30 million sensitive records (28,045,658), compared

to only 306 breaches that exposed nearly 10 million sensitive records (9,700,238) in 2020.4

       40.       Indeed, cyberattacks against the financial industry have become increasingly

common for over ten years, with the FBI warning as early as 2011 that cybercriminals were

“advancing their abilities to attack a system remotely” and “[o]nce a system is compromised,

cyber criminals will use their accesses to obtain PII.” The FBI further warned that that “the

increasing sophistication of cyber criminals will no doubt lead to an escalation in

cybercrime.” 5

       41.       Cyberattacks on financial systems and banking partner and provider companies

like Defendant have become so notorious that the FBI and U.S. Secret Service have issued a

warning to potential targets, so they are aware of, and prepared for, a potential attack. As one

report explained, “[e]ntities like smaller municipalities and hospitals are attractive. . . because

they often have lesser IT defenses and a high incentive to regain access to their data quickly.”6

       42.       Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

Plaintiff’s Experience

3
 2021 Data             Breach       Annual          Report,      ITRC,     chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.wsav.com/wp-
content/uploads/sites/75/2022/01/20220124_ITRC-2021-Data-Breach-Report.pdf (last visited
June 5, 2023).
4
  Id.
5
   Gordon M. Snow Statement, FBI https://archives.fbi.gov/archives/news/testimony/cyber-
security-threats-to-the- financial-sector (last visited March 13, 2023).
6
  Secret Service Warn of Targeted, Law360, https://www.law360.com/articles/1220974/fbi-
secret-service-warn-of- targeted-ransomware (last visited March 13, 2023).


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        43.    Plaintiff is unsure how RPL got his PII, including his Social Security number and

individual taxpayer identification number. Regardless, in collecting and maintaining PII,

Defendant implicitly agrees that it will safeguard the data using reasonable means according to its

internal policies, as well as state and federal law.

        44.     Defendant deprived Plaintiff of the earliest opportunity to guard himself against

the Data Breach’s effects by failing to promptly notify him about it.

        45.     As a result of its inadequate cybersecurity, Defendant exposed Plaintiff’s PII for

theft by cybercriminals and sale on the dark web.

        46.     Importantly, plaintiff does not recall ever learning that his PII was compromised

in a data breach incident, other than the breach at issue in this case.

        47.     Plaintiff suffered actual injury from the exposure of him PII —which violates

his rights to privacy.

        48.     As a result of the Data Breach notice, Plaintiff spent time dealing with the

consequences of the Data Breach, which includes time spent verifying the impacts of the Data

Breach, self-monitoring ger accounts and credit reports to ensure no fraudulent activity has

occurred. This time has been lost forever and cannot be recaptured.

        49.     Plaintiff has and will spend considerable time and effort monitoring his accounts

to protect himself from additional identity theft. Plaintiff fears for his personal financial

security and uncertainty over what PII was exposed in the Data Breach. Indeed, as a result of

the Data Breach, Plaintiff has already spent many hours and weeks dealing with the extensive

repercussions and attempting to protect himself from any additional harms.

        50.     Plaintiff has and is experiencing feelings of anxiety, sleep disruption, stress,

fear, and frustration because of the Data Breach. This goes far beyond allegations of mere


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worry or inconvenience; it is exactly the sort of injury and harm to a Data Breach victim that

the law contemplates and addresses.

       51.    Plaintiff suffered actual injury in the form of damages to and diminution in the

value of Plaintiff’s PII —a form of intangible property that Plaintiff entrusted to Defendant,

which was compromised in and as a result of the Data Breach.

       52.    Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII being

placed in the hands of unauthorized third parties and possibly criminals.

       53.    Indeed, following the Data Breach, Plaintiff began experiencing a significant

increase in spam calls, further suggesting that his PII is now in the hands of cybercriminals.

       54.    Once an individual’s PII is for sale and access on the dark web, as Plaintiff’s

PII is here as a result of the Breach, cybercriminals are able to use the stolen and compromised

to gather and steal even more information.7 On information and belief, Plaintiff’s phone

number was compromised as a result of the Data Breach.

       55.    Plaintiff has a continuing interest in ensuring that his PII, which, upon

information and belief, remains backed up in Defendant’s possession, is protected, and

safeguarded from future breaches.

Plaintiff and the Proposed Class Face Significant Risk of Continued Identity Theft

       56.    Plaintiff and members of the proposed Class have suffered injury from the

misuse of their PII that can be directly traced to Defendant.




7
 What do Hackers do with Stolen Information, Aura, https://www.aura.com/learn/what-do-
hackers-do-with-stolen- information (last visited January 9, 2024).

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       57.      As a result of Defendant’s failure to prevent the Data Breach, Plaintiff and the

proposed Class have suffered and will continue to suffer damages, including monetary losses,

lost time, anxiety, and emotional distress. They have suffered or are at an increased risk of

suffering:

             a. The loss of the opportunity to control how their PII is used;

             b. The diminution in value of their PII;

             c. The compromise and continuing publication of their PII;

             d. Out-of-pocket costs associated with the prevention, detection, recovery, and

                remediation from identity theft or fraud;

             e. Lost opportunity costs and lost wages associated with the time and effort

                expended addressing and attempting to mitigate the actual and future

                consequences of the Data Breach, including, but not limited to, efforts spent

                researching how to prevent, detect, contest, and recover from identity theft and

                fraud;

             f. Delay in receipt of tax refund monies;

             g. Unauthorized use of stolen PII; and

             h. The continued risk to their PII, which remains in Defendant’s possession and is

                subject to further breaches so long as Defendant fails to undertake the

                appropriate measures to protect the PII in its possession.

       58.      Stolen PII is one of the most valuable commodities on the criminal information

black market. According to Experian, a credit-monitoring service, stolen PII can be worth up

to $1,000.00 depending on the type of information obtained.




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       59.     The value of Plaintiff’s and the Class’s PII on the black market is considerable.

Stolen PII trades on the black market for years, and criminals frequently post stolen PII openly

and directly on various “dark web” internet websites, making the information publicly

available, for a substantial fee of course.

       60.     It can take victims years to spot identity theft, giving criminals plenty of time to

use that information for cash.

       61.     One such example of criminals using PII for profit is the development of “Fullz”

packages.

       62.     Cyber-criminals can cross-reference two sources of PII to marry unregulated

data available elsewhere to criminally stolen data with an astonishingly complete scope and

degree of accuracy in order to assemble complete dossiers on individuals. These dossiers are

known as “Fullz” packages.

       63.     The development of “Fullz” packages means that stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff and the proposed Class’ phone

numbers, email addresses, and other unregulated sources and identifiers. In other words, even

if certain information such as emails, phone numbers, or credit card numbers may not be

included in the PII stolen by the cyber-criminals in the Data Breach, criminals can easily create

a Fullz package and sell it at a higher price to unscrupulous operators and criminals (such as

illegal and scam telemarketers) over and over. That is exactly what is happening to Plaintiff

and members of the proposed Class, and it is reasonable for any trier of fact, including this

Court or a jury, to find that Plaintiff’s and the Class’s stolen PII is being misused, and that

such misuse is fairly traceable to the Data Breach.




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        64.      Defendant disclosed the PII of Plaintiff and the Class for criminals to use in the

conduct of criminal activity. Specifically, Defendant opened up, disclosed, and exposed the

PII of Plaintiff and the Class to people engaged in disruptive and unlawful business practices

and tactics, including online account hacking, unauthorized use of financial accounts, and

fraudulent attempts to open unauthorized financial accounts (i.e., identity fraud), all using the

stolen PII.

        65.      Defendant’s failure to properly notify Plaintiff and members of the Class of the

Data Breach exacerbated Plaintiff’s and the Class’s injury by depriving them of the earliest

ability to take appropriate measures to protect their PII and take other necessary steps to

mitigate the harm caused by the Data Breach.

Defendant failed to adhere to FTC guidelines.

        66.      According to the Federal Trade Commission (“FTC”), the need for data security

should be factored into all business decision-making. To that end, the FTC has issued

numerous guidelines identifying best data security practices that businesses, such as

Defendant, should employ to protect against the unlawful exposure of PII.

        67.      In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established guidelines for fundamental data security principles and

practices for business. The guidelines explain that businesses should:

              a. protect the sensitive consumer information that it keeps;

              b. properly dispose of PII that is no longer needed;

              c. encrypt information stored on computer networks;

              d. understand their network’s vulnerabilities; and

              e. implement policies to correct security problems.


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       68.    The guidelines also recommend that businesses watch for large amounts of data

being transmitted from the system and have a response plan ready in the event of a breach.

       69.    The FTC recommends that companies not maintain information longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.

       70.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data

as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act

(“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the measures

businesses must take to meet their data security obligations.

       71.    Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to consumers’ PII constitutes an unfair act or practice prohibited

by Section 5 of the FTCA, 15 U.S.C. § 45.

Defendant Fails to Comply with Industry Standards

       72.    As noted above, experts studying cyber security routinely identify entities in

possession of PII as being particularly vulnerable to cyberattacks because of the value of the

PII which they collect and maintain.

       73.    Several best practices have been identified that a minimum should be

implemented by employers in possession of PII, like Defendant, including but not limited to:

educating all employees; strong passwords; multi-layer security, including firewalls, anti-


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virus, and anti-malware software; encryption, making data unreadable without a key; multi-

factor authentication; backup data and limiting which employees can access sensitive data.

Defendant failed to follow these industry best practices, including a failure to implement multi-

factor authentication.

       74.     Other best cybersecurity practices that are standard for employers include

installing appropriate malware detection software; monitoring and limiting the network ports;

protecting web browsers and email management systems; setting up network systems such as

firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

Defendant failed to follow these cybersecurity best practices, including failure to train staff.

       75.     Upon information and belief, Defendants failed to implement industry-standard

cybersecurity measures, including failing to meet the minimum standards of both

the NIST Cybersecurity Framework Version 2.0 (including without limitation PR.AA-01,

PR.AA.-02, PR.AA-03, PR.AA-04, PR.AA-05, PR.AT-01, PR.DS-01, PR-DS-02, PR.DS-10,

PR.PS-01, PR.PS-02, PR.PS-05, PR.IR-01, DE.CM-01, DE.CM-03, DE.CM-06, DE.CM-09,

and RS.CO-04).

       76.     These foregoing frameworks are existing and applicable industry standards for

an employer’s obligations to provide adequate data security for its employees. Upon

information and belief, Defendant failed to comply with at least one––or all––of these accepted

standards, thereby opening the door to the threat actor and causing the Data Breach.

                             CLASS ACTION ALLEGATIONS

       77.     Plaintiff brings this class action under Fed. R. Civ. P. 23(a), 23(b)(2), and

23(b)(3), individually and on behalf of all members of the following class:


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       All individuals residing in the United States whose PII was compromised in the Data
       Breach including all those who received notice of the breach.

       78.      Excluded from the Class is Defendant, their agents, affiliates, parents,

subsidiaries, any entity in which Defendant have a controlling interest, any of Defendant’s

officers or directors, any successors, and any Judge who adjudicates this case, including their

staff and immediate family.

       79.      Plaintiff reserves the right to amend the class definition.

       80.      This action satisfies the numerosity, commonality, typicality, and adequacy

requirements under Fed. R. Civ. P. 23.

             a. Numerosity. Plaintiff is representative of the Class, consisting of several

                thousand members, far too many to join in a single action;

             b. Ascertainability. Members of the Class are readily identifiable from

                information in Defendant’s possession, custody, and control;

             c. Typicality. Plaintiff’s claims are typical of class claims as each arises from the

                same Data Breach, the same alleged violations by Defendant, and the same

                unreasonable manner of notifying individuals about the Data Breach.

             d. Adequacy. Plaintiff will fairly and adequately protect the proposed Class’s

                interests. His interests do not conflict with the Class’s interests, and he has

                retained counsel experienced in complex class action litigation and data privacy

                to prosecute this action on the Class’s behalf, including as lead counsel.

             e. Commonality. Plaintiff’s and the Class’s claims raise predominantly common

                fact and legal questions that a class wide proceeding can answer for the Class.

                Indeed, it will be necessary to answer the following questions:



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                  i. Whether Defendant had a duty to use reasonable care in safeguarding

                      Plaintiff’s and the Class’s PII;

                  ii. Whether Defendant failed to implement and maintain reasonable security

                      procedures and practices appropriate to the nature and scope of the

                      information compromised in the Data Breach;

                 iii. Whether Defendant were negligent in maintaining, protecting, and

                      securing PII;

                 iv. Whether Defendant breached contract promises to safeguard Plaintiff’s

                      and the Class’s PII;

                  v. Whether Defendant took reasonable measures to determine the extent of

                      the Data Breach after discovering it;

                 vi. Whether Defendant’s Breach Notice was reasonable;

                vii. Whether the Data Breach caused Plaintiff’s and the Class’s injuries;

                viii. What the proper damages measure is; and

                 ix. Whether Plaintiff and the Class are entitled to damages, treble damages,

                      or injunctive relief.

       81.    Further, common questions of law and fact predominate over any individualized

questions, and a class action is superior to individual litigation or any other available method

to fairly and efficiently adjudicate the controversy. The damages available to individual

plaintiffs are insufficient to make individual lawsuits economically feasible.

                                          COUNT I
                                          Negligence
                            (On Behalf of Plaintiff and the Classes)

       82.    Plaintiff realleges all previous paragraphs as if fully set forth below.


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          83.   Plaintiff and members of the Classes entrusted their PII to Defendant. Defendant

owed to Plaintiff and other members of the Classes a duty to exercise reasonable care in

handling and using the PII in its care and custody, including implementing industry-standard

security procedures sufficient to reasonably protect the information from the Data Breach,

theft, and unauthorized use that came to pass, and to promptly detect attempts at unauthorized

access.

          84.   Defendant owed a duty of care to Plaintiff and members of the Classes because

it was foreseeable that Defendant’s failure to adequately safeguard their PII in accordance with

state-of-the-art industry standards concerning data security would result in the compromise of

that PII—just like the Data Breach that ultimately came to pass. Defendant acted with wanton

and reckless disregard for the security and confidentiality of Plaintiff’s and members of the

Classes’ PII by disclosing and providing access to this information to third parties and by

failing to properly supervise both the way the PII was stored, used, and exchanged, and those

in its employ who were responsible for making that happen.

          85.   Defendant owed to Plaintiff and members of the Classes a duty to notify them

within a reasonable timeframe of any breach to the security of their PII. Defendant also owed

a duty to timely and accurately disclose to Plaintiff and members of the Classes the scope,

nature, and occurrence of the Data Breach. This duty is required and necessary for Plaintiff

and members of the Classes to take appropriate measures to protect their PII, to be vigilant in

the face of an increased risk of harm, and to take other necessary steps to mitigate the harm

caused by the Data Breach.

          86.   Defendant owed these duties to Plaintiff and members of the Classes because

they are members of a well-defined, foreseeable, and probable class of individuals whom


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Defendant knew or should have known would suffer injury-in-fact from Defendant’s

inadequate security protocols. Defendant actively sought and obtained Plaintiff’s and members

of the Classes’ personal information and PII.

       87.     The risk that unauthorized persons would attempt to gain access to the PII and

misuse it was foreseeable. Given that Defendant holds vast amounts of PII, it was inevitable

that unauthorized individuals would attempt to access Defendant’s databases containing the

PII—whether by malware or otherwise.

       88.     PII is highly valuable, and Defendant knew, or should have known, the risk in

obtaining, using, handling, emailing, and storing the PII of Plaintiff’s and members of the

Classes’ and the importance of exercising reasonable care in handling it.

       89.     Defendant breached its duties by failing to exercise reasonable care in

supervising its agents, contractors, vendors, and suppliers, and in handling and securing the

personal information and PII of Plaintiff and members of the Classes which actually and

proximately caused the Data Breach and Plaintiff’s and members of the Classes’ injury.

Defendant further breached its duties by failing to provide reasonably timely notice of the Data

Breach to Plaintiff and members of the Classes, which actually and proximately caused and

exacerbated the harm from the Data Breach and Plaintiff’s and members of the Classes’

injuries-in-fact. As a direct and traceable result of Defendant’s negligence and/or negligent

supervision, Plaintiff and members of the Classes have suffered or will suffer damages,

including monetary damages, increased risk of future harm, embarrassment, humiliation,

frustration, and emotional distress.

       90.     Defendant’s breach of its common-law duties to exercise reasonable care and its

failures and negligence actually and proximately caused Plaintiff and members of the Classes


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actual, tangible, injury-in-fact and damages, including, without limitation, the theft of their PII

by criminals, improper disclosure of their PII, lost benefit of their bargain, lost value of their

PII, and lost time and money incurred to mitigate and remediate the effects of the Data Breach

that resulted from and were caused by Defendant’s negligence, which injury-in-fact and

damages are ongoing, imminent, immediate, and which they continue to face.

                                           COUNT II
                                       Negligence Per Se
                             (On Behalf of Plaintiff and the Classes)

        91.     Plaintiff and members of the Classes incorporate the above allegations as if fully

set forth herein.

        92.     Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide fair

and adequate computer systems and data security practices to safeguard Plaintiff’s and

members of the Classes’ PII.

        93.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect customers or,

in this case, consumers’ PII. The FTC publications and orders promulgated pursuant to the

FTC Act also form part of the basis of Defendant’s duty to protect Plaintiff’s and the members

of the Classes’ sensitive PII.

        94.     Defendant violated its duty under Section 5 of the FTC Act by failing to use

reasonable measures to protect its employees’ PII and not complying with applicable industry

standards as described in detail herein. Defendant’s conduct was particularly unreasonable

given the nature and amount of PII Defendant had collected and stored and the foreseeable




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consequences of a data breach, including, specifically, the immense damages that would result

to its employees in the event of a breach, which ultimately came to pass.

       95.      The harm that has occurred is the type of harm the FTC Act is intended to guard

against. Indeed, the FTC has pursued numerous enforcement actions against businesses that,

because of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and members of the

Classes.

       96.      Defendant had a duty to Plaintiff and the members of the Classes to implement

and maintain reasonable security procedures and practices to safeguard Plaintiff’s and the

Classes’ PII.

       97.      Defendant breached its respective duties to Plaintiff and members of the Classes

under the FTC Act by failing to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard Plaintiff’s and members of the Classes’ PII.

       98.      Defendant’s violation of Section 5 of the FTC Act and its failure to comply with

applicable laws and regulations constitutes negligence per se.

       99.      But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and members of the Classes, Plaintiff and members of the Classes would not have been injured.

       100.     The injury and harm suffered by Plaintiff and members of the Classes were the

reasonably foreseeable result of Defendant’s breach of their duties. Defendant knew or should

have known that Defendant was failing to meet its duties and that its breach would cause

Plaintiff and members of the Classes to suffer the foreseeable harms associated with the

exposure of their PII.




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        101.       Had Plaintiff and members of the Classes known that Defendant did not

adequately protect their PII, Plaintiff and members of the Classes would not have entrusted

Defendant with their PII.

        102.       As a direct and proximate result of Defendant’s negligence per se, Plaintiff and

members of the Classes have suffered harm, including loss of time and money resolving

fraudulent charges; loss of time and money obtaining protections against future identity theft;

lost control over the value of PII; unreimbursed losses relating to fraudulent charges; losses

relating to exceeding credit and debit card limits and balances; harm resulting from damaged

credit scores and information; and other harm resulting from the unauthorized use or threat of

unauthorized use of stolen personal information, entitling them to damages in an amount to be

proven at trial.

                                              COUNT III
                                          Breach of Contract
                                  (On Behalf of Plaintiff and the Class)

        103.       Plaintiff and members of the Classes incorporate the above allegations as if fully

set forth herein.

        104.       Defendant entered into various contracts with its clients, including corporation

and employers, to provide services to its clients.

        105.       These contracts are virtually identical to each other and were made expressly

for the benefit of Plaintiff and the Class, as it was their confidential information that Defendant

agreed to collect and protect through its services. Thus, the benefit of collection and protection

of the PII belonging to Plaintiff and the Class were the direct and primary objective of the

contracting parties.




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        106.    Defendant knew that if it were to breach these contracts with its financial

provider clients, the clients’ employees, including Plaintiff and the Class, would be harmed

by, among other things, fraudulent misuse of their PII.

        107.    Defendant breached its contracts with its clients when it failed to use reasonable

data security measures that could have prevented the Data Breach and resulting compromise

of Plaintiff’s and Class Members’ PII.

        108.    As reasonably foreseeable result of the breach, Plaintiff and the Class were

harmed by Defendant failure to use reasonable data security measures to store their PII,

including but not limited to, the actual harm through the loss of their PII to cybercriminals.

        109.    Accordingly, Plaintiff and the Class are entitled to damages in an amount to be

determined at trial, along with their costs and attorney fees incurred in this action.

                                          COUNT IV
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

        110.    Plaintiff and members of the Classes incorporate the above allegations as if fully

set forth herein.

        111.    Plaintiff and members of the Class conferred a benefit upon Defendant in

providing PII to Defendant.

        112.    Defendant appreciated or had knowledge of the benefits conferred upon it by

Plaintiff and the Class. Defendant also benefited from the receipt of Plaintiff’s and the Class’s

PII, as this was used to facilitate its services to Plaintiff and the Class.

        113.    Defendant enriched itself by saving the costs they reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ PII.




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       114.    Instead of providing a reasonable level of security, or retention policies, which

would have prevented the Data Breach, Defendant instead calculated to avoid its data security

obligations at the expense of Plaintiff and Class Members by utilizing cheaper, ineffective

security measures. Plaintiff and Class Members, on the other hand, suffered as a direct and

proximate result of Defendant’s failure to provide the requisite security.

       115.    Under principles of equity and good conscience, Defendant should not be

permitted to retain the full value of Plaintiff and the Class’s PII because Defendant failed to

adequately protect their PII.

       116.    Plaintiff and Class Members have no adequate remedy at law.

       117.    Defendant should be compelled to disgorge into a common fund for the benefit

of Plaintiff and members of the Class all unlawful or inequitable proceeds received by them

because of their misconduct and Data Breach.

                                             COUNT V
                                     Breach of Fiduciary Duty
                                (On Behalf of Plaintiff and the Class)

       118.    Plaintiff realleges all previous paragraphs as if fully set forth below.

       119.    Given the relationship between Defendant and Plaintiff and Class Members,

where Defendant became guardian of Plaintiff’s and Class Members' PII, Defendant became a

fiduciary by its undertaking and guardianship of the PII, to act primarily for Plaintiff and Class

Members, (1) for the safeguarding of Plaintiff’s and Class Members' PII; (2) to timely notify

Plaintiff and Class Members of a Data Breach and disclosure; and (3) to maintain complete

and accurate records of what information (and where) Defendant did and does store.




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           120.   Defendant has a fiduciary duty to act for the benefit of Plaintiff and Class

Members upon matters within the scope of Defendant’s relationship with them—especially to

secure their PII.

           121.   Because of the highly sensitive nature of the PII, Plaintiff and Class Members

would not have entrusted Defendant, or anyone in Defendant’s position, to retain their PII had

they known the reality of Defendant’s inadequate data security practices.

           122.   Defendant breached its fiduciary duties to Plaintiff and Class Members by

failing to sufficiently encrypt or otherwise protect Plaintiff’s and Class Members' PII.

           123.   Defendant also breached its fiduciary duties to Plaintiff and Class Members by

failing to diligently discover, investigate, and give notice of the Data Breach in a reasonable

and practicable period.

           124.   As a direct and proximate result of Defendant's breach of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer numerous injuries (as

detailed supra).

                                            COUNT VI
                          Invasion of Privacy — Intrusion Upon Seclusion
                               (On Behalf of Plaintiff and the Class)

           125.   Plaintiff and members of the Classes incorporate the above allegations as if fully

set forth herein.

           126.   Plaintiff and the Class had a legitimate expectation of privacy to their PII and

were entitled to the protection of this information against disclosure to unauthorized third

parties.

           127.   Defendant owed a duty to its employees, including Plaintiff and the Class

Members, to keep their PII confidential.


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       128.     Defendant failed to protect said PII and exposed the PII of Plaintiff and the Class

Members to unauthorized persons which is now publicly available, including on the dark web,

and being fraudulently misused.

       129.     Defendant allowed unauthorized third parties access to and examination of the

PII of Plaintiff and the Class Members, by way of Defendant’s failure to protect the PII.

       130.     The unauthorized release to, custody of, and examination by unauthorized third

parties of the PII of Plaintiff and the Class Members is highly offensive to a reasonable person.

       131.     The intrusion was into a place or thing, which was private and is entitled to be

private. Plaintiff and the Class Members PII was disclosed to Defendant as a condition of

receiving services, but privately with an intention that the PII would be kept confidential and

would be protected from unauthorized disclosure. Plaintiff and the Class Members were

reasonable in their belief that such information would be kept private and would not be

disclosed without their authorization.

       132.     The Data Breach constitutes an intentional or reckless interference by Defendant

with Plaintiff’s and the Class Members’ interests in solitude or seclusion, either as to their

persons or as to their private affairs or concerns, of a kind that would be highly offensive to a

reasonable person.

       133.     Defendant acted with a knowing state of mind when it permitted the Data Breach

to occur because they had actual knowledge that its information security practices were

inadequate and insufficient.

       134.     Defendant acted with reckless disregard for Plaintiff’s and Class Members’

privacy when they allowed improper access to its systems containing Plaintiff’s and Class

Members’ PII.


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       135.    Defendant was aware of the potential of a data breach and failed to adequately

safeguard their systems and implement appropriate policies to prevent the unauthorized release

of Plaintiff’s and Class Members’ PII.

       136.    Because Defendant acted with this knowing state of mind, they had notice and

knew the inadequate and insufficient information security practices would cause injury and

harm to Plaintiff and the Class Members.

       137.    As a proximate result of the above acts and omissions of Defendant, the PII of

Plaintiff and the Class Members was disclosed to third parties without authorization, causing

Plaintiff and the Class Members to suffer injury and damages as set forth herein, including

monetary damages, fraudulent misuse of their PII and fraudulent charges; loss of the

opportunity to control how their PII is used; diminution in value of their PII; compromise and

continuing publication of their PII; and are entitled to compensatory, consequential, and

incidental damages as a result of the Data Breach.

       138.    Unless and until enjoined, and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and the Class

Members in that the PII maintained by Defendant can be viewed, distributed, and used by

unauthorized persons for years to come. Plaintiff and the Class Members have no adequate

remedy at law for the injuries in that a judgment for monetary damages will not end the

invasion of privacy for Plaintiff and the Class Members.

                                       COUNT VII
                  Violation Of The South Carolina Data Breach Security Act
                              S.C. Code Ann. §§ 39-1-90, Et seq.
                             (On Behalf of Plaintiff and the Class)




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        139.    Plaintiff and members of the Classes incorporate the above allegations as if fully

set forth herein.

        140.    RPL is a business that owns or licenses computerized data or other data that

includes personal identifying information as defined by S.C. Code Ann. § 39-1-90(A).

        141.    Plaintiff and the Class’s PII includes personal identifying information as

covered under S.C. Code Ann. § 39-1-90(D)(3).

        142.    RPL was required to adequately notify Plaintiff and the Class following

discovery or notification of a Data Breach if PII that was not rendered unusable by

cybercriminals through encryption, redaction, or other methods was, or was reasonably

believed to have been, acquired by an unauthorized person, creating a material risk of harm,

in the most expedient time possible and without unreasonable delay under S.C. Code Ann. §

39-1-90(A).

        143.    Because RPL discovered a Data Breach in which PII that was not rendered

unusable through encryption, redaction, or other methods, was, or was reasonably believed to

have been, acquired by an unauthorized person, creating a material risk of harm, RPL had an

obligation to disclose the Data Breach in a timely and accurate fashion as mandated by S.C.

Code Ann. § 39-1-90(A).

        144.    By failing to disclose the Data Breach in a timely and accurate manner, RPL

violated S.C. Code Ann. § 39-1-90(A).

        145.    As a direct and proximate result of RPL violations of S.C. Code Ann. § 391-

90(A), Plaintiff and the Class members suffered damages, as described above.

        146.    Plaintiff and the Class seek relief under S.C. Code Ann. § 39-1-90(G), including

actual damages and injunctive relief.


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                                      PRAYER FOR RELIEF

       Plaintiff and the Class demand a jury trial on all claims so triable and request that the

Court enter an order:

           A. Certifying this case as a class action on behalf of Plaintiff and the proposed

               Class, appointing Plaintiff as class representatives, and appointing their counsel

               to represent the Class;

           B. Awarding declaratory and other equitable relief as is necessary to protect the

               interests of Plaintiff and the Class;

           C. Awarding injunctive relief as is necessary to protect the interests of Plaintiff and

               the Class;

           D. Enjoining Defendant from further deceptive practices and making untrue

               statements about the Data Breach and the stolen PII;

           E. Awarding Plaintiff and the Class damages that include applicable compensatory,

               exemplary, punitive damages, and statutory damages, as allowed by law;

           F. Awarding restitution and damages to Plaintiff and the Class in an amount to be

               determined at trial;

           G. Awarding attorneys’ fees and costs, as allowed by law;

           H. Awarding prejudgment and post-judgment interest, as provided by law;

           I. Granting Plaintiff and the Class leave to amend this complaint to conform to the

               evidence produced at trial; and

           J. Granting such other or further relief as may be appropriate under the

               circumstances.




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Dated: February 24, 2025,                         Respectfully submitted,

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